Case: 2:13-cv-00503-MHW-CMV Doc #: 13 Filed: 08/09/13 Page: 1 of 8 PAGEID #: 43




                        IN THE UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION


  Jane Doe, both individually and on             :
  behalf of a class of others similarly
  situated,                                      :

                 Plaintiff,                      :      Case No. 2:13 CV 503

         v.                                      :      Judge Frost

  Franklin County, Ohio,                         :      Magistrate Abel

                 Defendant.                      :

    OBJECTION OF DEFENDANT FRANKLIN COUNTY, OHIO TO THE DECISION
     OF THE MAGISTRATE JUDGE (DOC. 8), FILED JULY 26, 2013, GRANTING
         PLAINTIFF LEAVE TO FILE HER COMPLAINT ANONYMOUSLY
                           AND UNDER SEAL

         Defendant Franklin County hereby objects to the decision of the Magistrate Judge

  granting anonymity to Plaintiff. A Memorandum in Support is attached and hereby

  incorporated by reference.

                                          Respectfully submitted,

                                          RON O’BRIEN
                                          PROSECUTING ATTORNEY
                                          FRANKLIN COUNTY, OHIO

                                          /s/ Mary Jane Martin
                                          Scott O. Sheets 0076837
                                          ssheets@franklincountyohio.gov
                                          Trial Attorney
                                          Mary Jane Martin 0065983
                                          mjmartin@franklincountyohio.gov
                                          Sean T. McCullough 0088776
                                          stmccull@franklincountyohio.gov
                                          Assistant Prosecuting Attorneys
                                          373 South High Street, 13th Floor
                                          Columbus, Ohio 43215-6318
                                          (614) 525-3520


                                                1
Case: 2:13-cv-00503-MHW-CMV Doc #: 13 Filed: 08/09/13 Page: 2 of 8 PAGEID #: 44




                                 (614) 525-6012 FAX
                                 Attorneys for Defendant Franklin County




                                       2
Case: 2:13-cv-00503-MHW-CMV Doc #: 13 Filed: 08/09/13 Page: 3 of 8 PAGEID #: 45




                              MEMORANDUM IN SUPPORT

         On July 24, 2013, Plaintiff Jane Doe moved this Court to allow her to proceed

  anonymously and with her identity under seal in her complaint against Franklin County,

  Ohio. (ECF Doc. 5) On July 26, 2013, the Magistrate Judge granted Plaintiff’s motion.

  (ECF Doc. 8) Plaintiff’s sole basis in support of her motion is that because she is

  homosexual, disclosure of her sexual orientation would subject her to public ridicule.

  (Plaintiff’s Motion, ECF Doc. 5, PAGEID ##1-2)            There is, however, no blanket

  protection granted to plaintiffs to proceed anonymously merely because of sexual

  orientation.

         Plaintiff posits that her homosexuality alone is a proper basis for this Court to

  allow her to proceed anonymously and cites a number of cases that discussed

  homosexuality as support. However, none of them supports Plaintiff’s position. The sole

  reason Plaintiff asks the Court to proceed anonymously is to avoid ridicule. Ridicule

  alone is insufficient to overcome the “‘long-established legal tradition’ of open access to

  court documents” and the “‘presumptive right’ of public access to court records.” John

  Does 1-114 v. Shalushi, et al., No. 10-11837 (E.D. Mich., July 30, 2010), 2010 U.S. Dist.

  LEXIS 77331(internal citations omitted). “‘Sealing court records. . . is a drastic step, and

  only the most compelling reasons should ever justify non-disclosure of judicial records.’

  ” Id. Proceeding pseudonymously is the exception rather than the rule. Citizens for a

  Strong Ohio v. Marsh, No. 04-3112, (6th Cir., Jan. 3, 2005), 123 F. Appx 630, 636 (6th

  Cir. 2005); Doe v. Warren County, No. 1:12-cv-789 (S.D. Ohio, February 25, 2013),

  2013 U.S. Dist. LEXIS 25423. “The use of fictitious names is disfavored, and the judge

  has an independent duty to determine whether exceptional circumstances justify such a




                                               3
Case: 2:13-cv-00503-MHW-CMV Doc #: 13 Filed: 08/09/13 Page: 4 of 8 PAGEID #: 46




  departure from the normal method of proceeding in federal courts." Doe v. Blue Cross &

  Blue Shield United of Wisconsin, 112 F.3d 869, 872 (7th Cir. 1997).

         In order “to proceed anonymously for fear of retaliation and harassment a

  ‘plaintiff must demonstrate that . . . retaliation is not merely hypothetical but based in

  some real-word evidence; a simple fear is insufficient. . . . A plaintiff can support his fear

  by demonstrating the need for anonymity to prevent retaliation, the reasonableness of the

  plaintiff's fear, the severity of the threatened harm, and the plaintiff's vulnerability.’ "

  Salushi, supra. See also, Doe v. Hallock, No. J87-0353(L), (December 8, 1987), 119

  F.R.D. 640 (S.D. Miss. 1987) (anonymity not warranted in sexual discrimination and

  harassment suit where no privacy interest beyond personal embarrassment identified).

         Regardless, Plaintiff has not specifically identified how she would be embarrassed

  or humiliated by the facts in the lawsuit that she has initiated. Further complicating this

  matter is the fact that Plaintiff had the files pertaining to her arrest and confinement

  sealed under Ohio law.       Defendant currently has no access to any of Plaintiff’s

  information other than making inquiry of Plaintiff, including whether she made

  statements or engaged in conduct that would refute her protestations that she would be

  subject to ridicule; emphemeral, conjectural, or otherwise. The sole information provided

  by Plaintiff to Defendant indicates that when Plaintiff was arrested at a public bar, she

  told the police that “I don’t need the police assistance for being gay.” That statement

  alone indicates that Plaintiff has no hesitancy in revealing her sexual orientation to

  complete strangers.

         The Sixth Circuit set forth factors to consider when analyzing whether anonymity

  should be granted. Doe v. Porter, 370 F.3d 558, 560 (6th Cir. 2004). They include: (1)




                                                4
Case: 2:13-cv-00503-MHW-CMV Doc #: 13 Filed: 08/09/13 Page: 5 of 8 PAGEID #: 47




  whether the plaintiffs seeking anonymity are suing to challenge governmental activity;

  (2) whether prosecution of the suit will compel the plaintiffs to disclose information "of

  the utmost intimacy"; (3) whether the litigation compels plaintiffs to disclose an intention

  to violate the law, thereby risking criminal prosecution; and (4) whether the plaintiffs are

  children. Id. (citing Doe v. Stegall, 653 F.2d 180, 185-186 (5th Cir. 1981)).

          While Plaintiff is clearly challenging governmental activity, that alone is

  insufficient to cloak her with anonymity. The only other factor germane to Plaintiff in

  the least is whether prosecution of the suit would compel Plaintiff to disclose information

  of the utmost intimacy. Plaintiff’s argument thus must stand or fall on whether disclosure

  of her sexual preference alone is sufficient grounds for anonymity because of a nebulous

  fear of ridicule.

          The cases Plaintiff cites do not support her assertion that anonymity is warranted;

  rather, they strongly refute the notion that ridicule is sufficient to justify anonymous

  prosecution of a claim. Plaintiff’s reliance on Doe v. U.S. Air Force, 812 F.2d 738 (D.C.

  Cir. 1987) is completely unavailing. U.S. Air Force predates the standard set forth in

  Doe v. Porter, supra. U.S. Air Force involved a homosexual plaintiff serving in the Air

  Force at a time when homosexuality was prohibited in the U.S. Air Force. Homosexual

  service members were subject to discharge at the time. The plaintiff was allowed to

  proceed anonymously because of the consequences then existing. No such consequences

  are present here. Ridicule cannot seriously be placed on the same level as discharge from

  military service and the loss of one’s livelihood.

          Further, in IO Group, Inc. v. Does 1-19, No. C 10–03851 SI (N.D. Cal., Mar. 1,

  2011), 2010 U.S. Dist. LEXIS 133717, the individual seeking anonymous designation




                                                5
Case: 2:13-cv-00503-MHW-CMV Doc #: 13 Filed: 08/09/13 Page: 6 of 8 PAGEID #: 48




  had not yet been made a party to the suit and faced no objection from the adverse party.

  The plaintiff in the case alleged that the defendants illegally copied and shared gay

  pornography owned and produced by the plaintiff.           The party seeking anonymous

  designation suggested that some other individual utilized his IP address to infringe

  plaintiff’s work. The Court cited no standard in “[granting] in limited part Subscriber's

  motion to be allowed to proceed anonymously.”           Id. at *2.    There are simply no

  similarities between IO Group and this case. Apart from opposition to the request, the

  individual seeking to proceed anonymously was not yet a party and at least asserted that

  he/she was not responsible. Here, the party seeking to proceed in anonymity is Plaintiff

  herself; she cannot claim any non-association with the facts or claims alleged in this case.

  Keeping oneself from being associated with the theft and distribution of gay

  pornography, the core issue of IO Group¸ is not the same as simply not wanting to reveal

  the details of one’s personal life. Plaintiff’s alleged homosexuality has nothing to do

  with the claims in this case.

         Finally, Doe v. United Servs. Life. Ins. Co., No. 88 Civ. 5630 (RWS)(December

  14, 1988), 123 F.R.D. 437 (S.D. NY 1988) involved a plaintiff who claimed to be

  heterosexual but filed suit alleging discrimination due to perceived homosexuality. The

  claims involved in the case were directly related to homosexuality. In this 25 year old

  case, the Court specifically noted, “[c]oncern to avoid public identification as a

  homosexual is heightened in light of the widespread public fear engendered by the

  Acquired Immunodeficiency Syndrome ("AIDS") crisis.” Clearly, times have changed

  and these same concerns are not nearly as prevalent. Further, the plaintiff in this case is a

  homosexual who seeks to proceed anonymously not to avoid the stigma resulting from




                                               6
Case: 2:13-cv-00503-MHW-CMV Doc #: 13 Filed: 08/09/13 Page: 7 of 8 PAGEID #: 49




  “widespread public fear” but to avoid ridicule. Such a minor concern does not justify

  anonymous prosecution.

         For the foregoing reasons, Defendant Franklin County requests this Court

  reconsider the Magistrate Judge’s Order and require Plaintiff to prosecute her complaint

  with her true identity.



                                      Respectfully submitted,

                                      RON O’BRIEN
                                      PROSECUTING ATTORNEY
                                      FRANKLIN COUNTY, OHIO

                                      /s/ Mary Jane Martin
                                      Scott O. Sheets 0076837
                                      ssheets@franklincountyohio.gov
                                      Trial Attorney
                                      Mary Jane Martin 0065983
                                      mjmartin@franklincountyohio.gov
                                      Sean T. McCullough 0088776
                                      stmccull@franklincountyohio.gov
                                      Assistant Prosecuting Attorneys
                                      373 South High Street, 13th Floor
                                      Columbus, Ohio 43215-6318
                                      (614) 525-3520
                                      (614) 525-6012 FAX
                                      Attorneys for Defendant Franklin County




                                             7
Case: 2:13-cv-00503-MHW-CMV Doc #: 13 Filed: 08/09/13 Page: 8 of 8 PAGEID #: 50




                              CERTIFICATE OF SERVICE


          The undersigned hereby certifies that notice of this filing will be served on

  counsel of record through the Court’s electronic filing system this 9th day of August,

  2013.



                                            /s/ Mary Jane Martin
                                            Mary Jane Martin 0065983
                                            Assistant Prosecuting Attorney




                                            8
